          Case 8:18-cv-00883-PWG Document 205 Filed 05/13/22 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


    American Academy of Pediatrics, et al.,

                                    Plaintiffs,

                       v.                           Case No. PWG-18-883

    Food and Drug Administration, et al.,

                                  Defendants.


                                      STATUS REPORT

         In accordance with the Court’s revised remedial order (ECF No. 202), Defendants

respectfully report as follows:

         1.     Covered Applications: This report includes information about “Covered

Applications” as defined in paragraph 7 of the Court’s revised remedial order. Under that

definition:

                a.     Covered Applications are limited to applications for “New Products,”

which are defined in paragraph 1 of the revised remedial order as new tobacco products on the

market as of August 8, 2016. To determine whether a product was on the market as of August 8,

2016, the FDA has used information previously reported by manufacturers about whether the

product was on the market on that date, but has not independently verified that information. 1




1
  The FDA identified two applications for products sold under the relevant brand names where
the applicant stated that the products were not on the market as of August 8, 2016. The FDA also
identified three other applications for products sold under the relevant brand names where the
applicant did not state whether the products were on the market as of August 8, 2016. The FDA
has not included information about these five applications in this status report.
         Case 8:18-cv-00883-PWG Document 205 Filed 05/13/22 Page 2 of 4



               b.      Covered Applications are further limited to applications “filed by”

September 9, 2020. For purposes of this status report, the FDA has treated an application as

“filed by” September 9, 2020, if the application was submitted to the FDA by 11:59 P.M. EDT

on September 9, 2020.

               c.      Covered Applications are also limited to applications for products that are:

“(a) sold under the brand names JUUL, Vuse, NJOY, Logic, Blu, SMOK, Suorin, or Puff Bar, or

(b) reach 2% of total ‘Retail $ Sales’ in Nielsen’s ‘Total E-Cig Market & Players’ or ‘Disposable

E-Cig Market & Players’ reports.” Defendants conferred with Plaintiffs, who agreed that only

one brand beyond those listed in paragraph 7(a) meets the 2% threshold identified in paragraph

7(b).

               To determine which applications are for products sold under these brand names,

the FDA used its internal premarket tobacco application database, which organizes applications

by manufacturer. The FDA searched its database for these brand names to identify the

manufacturers related to each relevant brand name. The FDA then searched its database to

identify applications submitted by these manufacturers.

               d.      To calculate the percentages in this report, the FDA has counted each

tobacco product for which a marketing order was sought as a separate application, even if the

manufacturer made a single submission for multiple products.

        2.     Overall Progress: The FDA is committed to completing review of the

applications it has received as soon as feasible to protect and promote the public health. To date,

the FDA has resolved — e.g., issued a refuse-to-accept letter, a refuse-to-file letter, a marketing

denial order, or a marketing order for — over 99% of the more than 6.5 million timely

applications it received. See FDA, FDA Issues Marketing Denial Orders to Fontem US for myblu




                                                 2
         Case 8:18-cv-00883-PWG Document 205 Filed 05/13/22 Page 3 of 4



Products, available at https://www.fda.gov/tobacco-products/ctp-newsroom/fda-issues-

marketing-denial-orders-fontem-us-myblu-products (Apr. 8, 2022).

        Of those applications, based on the criteria described in paragraph 1, the FDA has

identified 240 Covered Applications. The following estimates represent the FDA’s best forecast

based on current information. Overall, the FDA expects to have taken action on:

                51% of Covered Applications by June 30, 2022;

                52% of Covered Applications by September 30, 2022;

                56% of Covered Applications by December 31, 2022;

                56% of Covered Applications by March 31, 2023; and

                100% of Covered Applications by June 30, 2023.

        The FDA’s progress largely reflects the review priorities that the agency established in

2020, when review began. Given the large influx of concurrent applications, the FDA prioritized

review of applications from manufacturers with the greatest market share at the time because

decisions on those applications were expected to have the greatest impact on public health. As a

result, the FDA allocated significant resources to review applications from the five companies

whose brands represented over 95% of the e-cigarette market at that time: Fontem (blu), JUUL,

Logic, NJOY, and R.J. Reynolds (Vuse). The FDA expects to have resolved 63% of the

applications in its original priority set by June 30, 2022, and 72% of the applications in its

original priority set by the end of this year.

        Moreover, not every Covered Application has an equal potential impact on the public

health. For example, more than 25% of the Covered Applications are for products not currently

on the market. Also, some e-cigarette devices consist of a small number of components, resulting

in a small number of individual product applications for the entire system. A disposable pre-

filled device, for example, could constitute a single product, with one application. Other e-


                                                  3
        Case 8:18-cv-00883-PWG Document 205 Filed 05/13/22 Page 4 of 4



cigarette devices, by contrast, consist of many components, with separate tanks, coils, tubes, and

pods, resulting in dozens of separate product applications for a single system. Of the Covered

Applications that the FDA anticipates will remain to be resolved beyond the end of 2022, more

than half are for components of a limited number of e-cigarette device systems representing

under 2.5% of the e-cigarette market. The FDA has made and will continue to make significant

progress in reviewing and resolving applications for e-cigarette products to achieve the greatest

impact on public health.

       3.      In accordance with the revised remedial order, the FDA will file another status

report by July 29, 2022, reporting any revisions to these estimates.


 Dated: May 13, 2022                                 Respectfully submitted,

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